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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: August 30, 2022
        Defendant.                             )
                                               )

                                             ORDER
       The Court will hold a pre-trial hearing on September 7, 2022, on the parties’ motions in
limine and the government’s motion for adequate disclosure and to exclude testimony in the
above-captioned criminal matter.

       To facilitate the oral arguments on these motions, the parties shall present consolidated
arguments on their respective pre-trial motions. The parties shall adhere to the following time
allotments for the presentation of their respective oral arguments:

       Defense’s Consolidated Arguments

           1. Opening arguments: 25 minutes
           2. Responses: 20 minutes
           3. Rebuttal, if any: 15 minutes
       Government’s Consolidated Arguments

           1. Opening arguments: 25 minutes
           2. Responses: 20 minutes
           3. Rebuttal, if any: 15 minutes

       IT IS SO ORDERED.


                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
